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3                                                                 GLERK u.s DI
                                                                             STRIGTGOURT
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 5
6                              UN ITED STATE S D ISTR IC T CO U RT

7                                      DISTRICT O F NEVADA

 8 UNITED STATES OF AMERICA,                       )
                                                   )
 9                       Plaintiff,                )
                                                   )
10         v.                                      )         2:10-CR-282-PMP (GW F)
                                                   )
11 SHIRJIL QURESHI,                                )
                                                   )
12                       Defendant.                )
13                                    O RD ER O F FO R FEITU RE

14        OnJuly 14,20l1,defendantSHIIUIL QURESHIpledguiltytoCountOneofaFour-count
                              h'
                               Im
15 CriminalIndictm entcharginghw inCount0newithConspiracytoCom mitBankFraud,M ailFraud,
16 and W ire Fraud,in violation ofTitle 18,United States Code,Section 1349,and agreed to the
17 forfeitureofproperty setforth intheForfeitureAllegationsinthe CriminalIndictm entandthePlea

18 A greem ent.D ocket#1,# -   .



19        ThisCourttindsthatSHIRJIL QURESHIshallpayacriminalforfeituremoneyjudgmentof
20 $12,875.00inUnited StatesCurrencytotheUnited SGtesofAmerica,ptzrsuanttoFed.R.Crim .P.
21 32.2(b)(1)and(2);Titlel8,unitedStatesCode,Section982(a)(2)(A);Title18,UnitedStatesCode,
22 Section981(a)(l)(C),and Title2#,United StatesCode,Section2461(c).
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1         THEREFO RE,IT IS H EREBY ORD ER ED ,AD JUD G ED ,A N D DECR EED thatthe United

     Statesrecoverfrom SHIU IL QURESHIacriminalforfeituremoneyjudgmentin theamountof
     $12,875.00 in United StatesCurrency.
          DATED this z  /z
                         /tday of
                             -
                                                      ,20l1.




                                              ITED STATES D ISTR ICT JU D GE




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